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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


   IN RE: VALSARTAN,
   LOSARTAN, AND IRBESARTAN                           MDL No. 2875
   PRODUCTS LIABILITY
   LITIGATION
                                               HON. ROBERT B. KUGLER
   THIS DOCUMENT RELATES TO ALL              CIVIL NO. 19-2875 (RBK)(KMW)
   CASES
                                                     REDACTED VERSION




           PLAINTIFFS’ MOTION TO PARTIALLY EXCLUDE OPINIONS OF
                  DEFENSE CLASS EXPERT TIMOTHY E. KOSTY




                                   KANNER & WHITELEY, LLC
                                   701 Camp St.
                                   New Orleans, LA 70130

  On the Brief:
  David J. Stanoch
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